Case 4:04-cr-40043-SMY         Document 1078 Filed 09/11/06              Page 1 of 3     Page ID
                                         #3164




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )       Case No. 04-CR-40043-JLF

v.                                            )
                                              1
JASON D. MELTON,
                                              1
                       Defendant.             )




       PRELIMINARY ORDER FOR FORFEITURE PURSUANT TO
             9
                          PROPERTY OF JASON D. MELTON
       In Count 3 of the Second Superseding Indictment filed in the above cause on January 5,

2006, the United States sought forfeiture of property of Defendant, Jason D. Melton, pursuant to 2 1

U.S.C. 9 853. The Court, upon consideration of the guilty plea received in this matter, hereby finds

by preponderance of evidence that the following property is forfeitable and hereby orders forfeited

the following property:

       CASH PROCEEDS
       Fifteen thousand dollars ($15,000.00) in United States Currency representing the
       value of proceeds obtained by the defendant and his co-conspirators in the course of
       the conspiracy to distribute and possess with intent to distribute a mixture containing
       methamphetamine as charged in Count 1 of the second Superseding Indictment.

       The United States may, at its option, enforce said judgment as a forfeiture judgment with

the ability to seek to forfeiture substitute assets; enforce said judgment as an ordinary monetary

judgment in favor of the United States by any legal means; or enforce said judgment as a

combination of the foregoing as long as the United States does not obtain double recovery in
Case 4:04-cr-40043-SMY           Document 1078 Filed 09/11/06                Page 2 of 3      Page ID
                                           #3165


excess of the total amount of the judgment. The parties stipulate specifically and the Court finds

that said $15,000.00 in United States currency, as a result of the acts of said defendant, cannot

be located upon the exercise of due diligence and that the requirements for forfeiture of substitute

property under 21 U.S.C. 8 853(p) have been met.

        Further, the court hereby finds that the following property is forfeitable and hereby orders

forfeited the following property as substitute property pursuant to 21 U.S.C. 5 853(p), as

incorporated by 18 U.S.C. 5 982(b)(1):

        All funds or other items of value deposited with or in the custody of the Wayne
        County Circuit Court as bond money posted with that Court in relation to Case No.
        03-CF-22 1, up to the value of $15,000.00.

        The United States shall publish at least once a week for three consecutive weeks in a

newspaper of general circulation, notice of this order, notice of the United States Marshal's intent

to dispose of said substitute property in such a manner as the Attorney General may direct, and

notice that any person other than the defendants who have any or claim any legal interest any of

the above-listed forfeited property, must file a petition with the court within thirty (30) days of

final publication of the notice or receipt of actual notice, whichever time is earlier.

        The notice shall state that the petition shall be set for a hearing to adjudicate the validity

of the petitioner's alleged interest in the property, shall be signed by the petitioner under penalty

of perjury, and shall set forth the nature and extent of the petitioner's right, title, or interest in the

forfeited property and any additional facts supporting the petitioner's claim and the release.

        The United States may, also to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property that is the subject of the Order for

Forfeiture, as the substitute for the published notice to those persons so notified.
 Case 4:04-cr-40043-SMY           Document 1078 Filed 09/11/06              Page 3 of 3        Page ID
                                            #3166


       Upon the filing a petition alleging the third-party interests in the property, the court may

amend this order to resolve the claimed third-party interests.

       The United States Marshal shall seize and reduce to his possession, if he has not already

done so, the above-described property. If said property is still within the jurisdiction of the State

Court, then said seizure shall not occur without the permission of said Court.

       Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, this Preliminary

Order of Forfeiture is hereby decreed to be final with respect to defendant Jason D. Melton and

is hereby made a part of his sentence and shall be included in the Judgment entered against him

in this case. Said order is a final order only with respect to said defendant, and said order may

be amended with respect to petitions filed by third parties claiming an interest in the subject-matter

forfeited property.

       IT IS SO ORDERED.

       Dated:           v/
                         /
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                              I




                                                      JAMES L. FOREMAN
                                                      s n i o r United States District Judge
